Case 1:22-cv-01254-PKC Document 54 Filed 04/25/23 Page 1 of 7




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         IN ITS ENTIRETY

          Exhibit 2 to the
     Declaration of Guy Cohen
       ECF Nos. 40 and 45
                    Case 1:22-cv-01254-PKC Document 54 Filed 04/25/23 Page 2 of 7
1/8/22, 6:00 AM                                                Mail - Esther Wilder - Outlook



       RE: [EXTERNAL] Formal Complaint Against Sarah Hoiland
       ESTHER.WILDER <ESTHER.WILDER@lehman.cuny.edu>
       Fri 6/5/2020 2:37 PM
       To: SOHN, EUGENE <ESOHN@hostos.cuny.edu>
       Cc: Bridget.Barbera <Bridget.Barbera@lehman.cuny.edu>
       Dear Mr. Sohn,

       Thank you for the update. I understand these have been challenging times and I hope you are well.

       Kind regards,
       Esther
       ---
       Esther Isabelle Wilder
       Department of Sociology
       Lehman College
       The City University of New York (CUNY)
       250 Bedford Park Boulevard West
       Bronx, NY 10468
       718-960-1128
       Teach QR: www.teachqr.org
       Personal webpage: http://www.lehman.edu/academics/sociology/faculty-wilder.php

       From: SOHN, EUGENE [ESOHN@hostos.cuny.edu]
       Sent: Friday, June 5, 2020 2:14 PM
       To: ESTHER.WILDER
       Cc: Bridget.Barbera
       Subject: RE: [EXTERNAL] Formal Complaint Against Sarah Hoiland

       Hi Professor,
       I hope you are doing well, and thank you for your email. Please pardon any delay, as the unusual circumstances
       surrounding the COVID-19 pandemic has made it challenging to proceed in typical fashion. The College has
       designated a new Research Integrity O cer, who will review this ma er and determine next steps. Keep safe and
                                               ffi
                                                                                tt
       have a nice weekend.

       Eugene B. Sohn | Executive Counsel and Labor Designee
       Hostos Community College, CUNY

       p. 718-518-4281
       a. 475 Grand Concourse, Bronx, NY 10451
       w. GivetoHostos.com
       w. Hostos.cuny.edu
       w. Hostos50.com

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       delete this message and all its attachments.




       From: ESTHER.WILDER [mailto:ESTHER.WILDER@lehman.cuny.edu]
       Sent: Thursday, June 4, 2020 12:26 AM
https://outlook.office.com/mail/id/AAMkADlmZGU5YTc2LTdhYzgtNGNlMC05MDBjLTZkZWJkMDkwOTM0YgBGAAAAAABXXfw21ubNR6UCDB0Tsuje…         1/6
        CONFIDENTIAL                                                                                             P000588
                   Case 1:22-cv-01254-PKC Document 54 Filed 04/25/23 Page 3 of 7
1/8/22, 6:00 AM                                                 Mail - Esther Wilder - Outlook

       To: SOHN, EUGENE <ESOHN@hostos.cuny.edu>
       Cc: Bridget.Barbera <Bridget.Barbera@lehman.cuny.edu>
       Subject: RE: [EXTERNAL] Formal Complaint Against Sarah Hoiland

       Dear Mr. Sohn,

       I hope this email finds you well. I know we're in difficult times.

       I did want to follow up on this case. You had mentioned that someone would be contacting me shortly but I
       wonder if this may have fallen through the cracks since it's been nearly two months since I received that letter.

       I did reach out to Ms. Barbera, who informed me that the case was being treated as a formal complaint of
       research misconduct.

       While I understand there are more pressing matters that all of the CUNY schools are facing right now, I do want to
       emphasize that from my perspective this particular case is no trivial matter. Dr. Hoiland has taken my intellectual
       property (and that of Crystal Rodriguez) and passed it off as her own, and she continues to misrepresent the
       situation.

       I provided more details of the case to Ms. Barbera, which I'm happy to share with you as well. I'd be grateful if
       you could let me know the next steps.

       Kind regards,
       Esther
       ---
       Esther Isabelle Wilder
       Professor of Sociology
       Lehman College
       The City University of New York (CUNY)
       250 Bedford Park Boulevard West
       Bronx, NY 10468
       718-960-1128
       Teach QR: www.teachqr.org
       Personal webpage: http://www.lehman.edu/academics/sociology/faculty-wilder.php




       From: SOHN, EUGENE [ESOHN@hostos.cuny.edu]
       Sent: Tuesday, April 14, 2020 7:53 PM
       To: ESTHER.WILDER
       Cc: Bridget.Barbera
       Subject: RE: [EXTERNAL] Formal Complaint Against Sarah Hoiland

       HI Professor,
       Thank you for your email. The College is reviewing this ma er, and someone should hopefully be contac ng you
                                                                     tt
                                                                                                                  ti
       shortly. Bridget did reach out to me to provide me with some background – I appreciate this courtesy. You can
       contact her for follow up. I hope you are doing well and are safe during this unusual me. Thank you.
                                                                                                 ti
       Eugene B. Sohn | Executive Counsel and Labor Designee
       Hostos Community College, CUNY

       p. 718-518-4281
       a. 475 Grand Concourse, Bronx, NY 10451

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1/8/22, 6:00 AM                                                  Mail - Esther Wilder - Outlook

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       communication in error, please notify us immediately by reply or by telephone (718) 518-4281 and immediately
       delete this message and all its attachments.




       From: ESTHER.WILDER [mailto:ESTHER.WILDER@lehman.cuny.edu]
       Sent: Tuesday, April 7, 2020 4:15 PM
       To: SOHN, EUGENE <ESOHN@hostos.cuny.edu>
       Cc: Bridget.Barbera <Bridget.Barbera@lehman.cuny.edu>
       Subject: [EXTERNAL] Formal Complaint Against Sarah Hoiland

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       Dear Mr. Sohn,

       I am a Professor in the Department of Sociology at Lehman College. I am writing this letter to make a formal
       complaint against Sarah Hoiland, an Assistant Professor of Sociology in the Behavioral Sciences Unit at
       Hostos Community College. Dr. Hoiland has plagiarized my work and defamed me. Although this case has
       been informally reviewed by CUNY research integrity officers Alan Kluger (Lehman) and Felix Cardona
       (Hostos), I feel strongly that this is an urgent legal matter. I recently consulted with Ms. Bridget Barbera,
       Lehman’s Legal Counsel, who suggested I reach out to you.

       After meeting with Drs. Kluger and Cardona, there was consensus that Sarah had engaged in research
       misconduct. I was reassured that Sarah would face consequences for her action, but at this point nothing has
       come of that. Moreover, since that meeting, Dr. Hoiland has written a letter to Dr. Crystal Rodriguez
       attempting to justify her research misconduct and defaming me. My understanding is that Dr. Hoiland has
       also threatened legal action against Hostos Community College, and I have no idea on what grounds she
       would justify making such a claim. While I am not a litigious person myself, I will do whatever it takes to
       defend my professional reputation and my intellectual property. On both accounts, Sarah has caused serious
       damage.

       At this stage, I will focus on Dr. Hoiland's theft of my intellectual property. I would be very glad to speak with
       you further about this case, and to provide additional details and documentation. (All my claims are
       thoroughly documented.)

       Sarah was a co-PI on my NSF-funded project, NICE (Numeracy Infusion for College Educators), an
       extension of my earlier NICHE (Numeracy Infusion Course for Higher Education) program that provides
       faculty with instruction in best practices for teaching quantitative reasoning (QR). Because NICE was written
       in response to an RFP for community colleges, I wanted to include a community college faculty member as a
       co-PI. Sarah was recommended by a colleague, and she served as co-PI on the project. I should note,
       however, that Sarah's only involvement in preparing the proposal was in making minor editorial changes to a
       document that I had already prepared. (I have copies of my proposal before and after her changes.)

       In summer 2019, Sarah mentioned that she planned to give a presentation at the meeting of the National

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        CONFIDENTIAL                                                                                                P000590
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1/8/22, 6:00 AM                                             Mail - Esther Wilder - Outlook

       Numeracy Network. I said that I would like to be involved in any presentation that focused on NICE, and I
       asked what she planned to present. She sent me a link to the abstract, and I was surprised to see that it
       focused mainly on the NICE program – something she had no role in developing. Because I wasn’t planning
       to attend the NNN conference, she had written on the title page of the abstract “Professor Wilder will not be at
       NNN this year.” I explained to her that co-authors are often not present, so there was no need for her to
       include that information. I also informed her that what she had planned to present seemed very similar to an
       earlier paper I had been working on with a graduate student from my prior grant. When I asked for more
       detail about her plans, she sent me a copy of a presentation she had given at the Community Conference on
       Learning and Assessment (CCLA) earlier that year. That CCLA presentation was taken almost entirely from
       my work and that of Crystal Rodriguez, an Assistant Professor in Criminal Justice at Bronx Community
       College.

       Sarah Hoiland made the decision to present at the CCLA conference unbeknownst to me. The first I heard
       about that conference was after her presentation had been accepted, when she asked me if I wanted to co-
       present. Since I was not interested in attending the CCLA conference, I declined her invitation. (I should
       also note that she reached out to me only after she had been asked to confirm her participation in the
       program.) I naturally assumed that Sarah would be presenting her own work—the work she had done as a
       participant in the NICE faculty development program, since the program was new to her when the grant
       started.

       When I received a copy of her presentation long after the event (and only because I started wondering what
       she had planned at yet another conference), I was greatly surprised to find that she had presented my
       material as her own work and that she had given me no authorship credit in the presentation. (It is important
       to emphasize that the slides she presented at the CCLA conference were not the result of any collaboration
       with Sarah. They were work I had done during my previous grant, without any input from her.) I realized later
       that she had also plagiarized the work of Crystal Rodriguez. Of the 22 slides in the presentation other than
       the title page,

       (a) Eight are comprised almost entirely of material I wrote and posted to Blackboard; six of these were copied
       verbatim, even in terms of formatting;

       (b) Two are slight rearrangements of text I had prepared; they include a summary of the structure of the NICE
       program, which I developed, with assistance from my collaborators on my NICHE project;

       (c) Six are taken verbatim from material Crystal had prepared; these include a graph she had used as a
       faculty participant in the program;

       (d) Four are photos from the project from our capstone conference;

       (e) Just two slides—approximately 10% of the slideshow—present the work of Sarah Hoiland.

       I have attached her slideshow as well as a second file that explains the extent of her plagiarism in greater
       detail.

       The slideshow she prepared was distributed to all the conference attendees, and she even signed an
       intellectual property agreement claiming that the work belonged to her alone. Crystal and I are hurt and
       angry with Sarah for what she has done, and for her unapologetic attempts to justify her behavior.

       When I confronted Sarah about what she had done, she become defensive and hostile, and she claimed that
       she had given me oral credit for my work. I asked her to ensure that I received coauthor credit for the
       slideshow, and she wrote a very inappropriate letter to the conference organizers; she painted me as
       someone demanding authorship credit, but she took no responsibility for the fact that almost none of the
       presentation was her own work. Not surprisingly, the conference organizers ignored her email. She also
       claims that she followed up with that email with a phone call, but of course nothing happened. I then took
https://outlook.office.com/mail/id/AAMkADlmZGU5YTc2LTdhYzgtNGNlMC05MDBjLTZkZWJkMDkwOTM0YgBGAAAAAABXXfw21ubNR6UCDB0Tsuje…   4/6
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1/8/22, 6:00 AM                                               Mail - Esther Wilder - Outlook

       matters into my own hands and called up the conference organizer and explained exactly what had
       happened. Rachel Meister, one of the conference organizers, was very apologetic, and she agreed that the
       byline should be corrected. She corrected the website, but she also told me it was too late to correct the
       slideshow itself, since that document had already been shared with all the conference attendees via a
       password-protected website. (There were well over 100 conference attendees. You can see pictures
       here: https://conferences.valenciacollege.edu/learning-
       assessment/https://conferences.valenciacollege.edu/learning-assessment/

       I realized only afterward that Sarah had also plagiarized Crystal Rodriguez's work (Crystal was a faculty
       participant in the NICE program). This was particularly problematic since Crystal had indicated on her IRB
       consent form that she wanted her name to be associated with any of her instructional materials that we
       published on the project website. She clearly wanted credit for her work. I mentioned this to Sarah, but
       again she became very defensive. She claimed that she had mentioned Crystal's name at the conference,
       and made it clear she felt that that was sufficient. At that point I reached out to Crystal directly and told her I
       thought she deserved authorship credit since so many of the slides were her work and no written credit had
       been given. Crystal was taken aback, and she agreed with me. I again reached out to the conference
       organizers, and they gladly added Crystal's name to the website. Again, however, it was too late to correct
       the PowerPoint file that had been distributed to the conference attendees.

       While Sarah has presented this case as a “difficult working relationship,” from my perspective (and Crystal's),
       this is a clear case of academic misconduct and she has plagiarized our work. In order to remedy the
       situation, I reached out to Bridget Barbera, Lehman’s attorney, last year. She thought it would be appropriate
       for me to reach out to Lehman’s research integrity officer (Alan Kluger), which I did. I also reached out to
       John Tsapogas at the Research Foundation and both Alan and John reached out to Felix Cardona, the RIO
       at Hostos. When I met with Alan, Felix, and John in February, they made it clear that they felt Sarah had
       engaged in research misconduct. It was unclear to them, however, whether this was due to naiveté or
       maliciousness. At this point, I believe it is a combination of both.

       I believe Crystal and I would have been very forgiving if Sarah had apologized and made a sincere effort to
       remedy to the situation—but it became clear that she was unwilling to admit wrongdoing on her part and she
       justified her actions with false claims. It’s also worth noting that her story about the presentation has changed
       and several of her arguments have been contradicted by documented evidence provided by the conference
       organizers. She indicated to me that the presentation was not treated as any kind of intellectual property, but
       in fact she signed an intellectual property agreement when she presented at the conference. Sarah also told
       me that the presentation was only seen by those in attendance at her session, when in fact it was available
       online to everyone who'd attended the conference. She said she thought the presentation was
       audiorecorded, but it was not. She wrote to me and said approximately 20 people attended her presentation,
       but then she told the ethics officers there were only a dozen.

       Sarah continues to defend her unethical behavior, as if what she did is normative. At this point she appears
       to be on a slander campaign. She is presenting misinformation to her colleagues with the intention of making
       me look bad. I would be glad to present more details about this.

       At this point, I have spent months compiling documents that show exactly what has happened. As I
       mentioned to my research integrity officer, "people lie, but documents
       don't." See https://drive.google.com/drive/folders/1CTygRa794GXn2RNMPtKXd8vNeJrKCq3B?
       usp=sharing for the documentation I have compiled.

       While I understand from Ms. Barbera that only the research integrity officers can make a determination of
       plagiarism, I feel strongly that three things need to happen in this case:

       (1) A record of Sarah's academic misconduct, including her plagiarism, needs to go into her permanent
       record at Hostos. Sarah was recently awarded tenure, but now she is being considered for promotion to
       associate professor. If she is given that promotion, CUNY will be sending the message that plagiarism is not
https://outlook.office.com/mail/id/AAMkADlmZGU5YTc2LTdhYzgtNGNlMC05MDBjLTZkZWJkMDkwOTM0YgBGAAAAAABXXfw21ubNR6UCDB0Tsuje…     5/6
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       only tolerated, it is rewarded. As I described to Alan, Felix and John, Sarah made no intellectual contribution
       to the NICE faculty development program. Moreover, she didn't do the main intellectual work she agreed to
       do for the project, i.e., the qualitative research. (Her main contribution was administrative work—recruiting
       faculty and providing encouragement for them to complete the program). Then, when the project was
       nearing completion and Sarah had nothing to show for it, she decided that the best strategy was to present
       the work of the other project participants.

       (2) I do not want Sarah to use my intellectual property, including the instructional materials from the DARE
       Program and the data I was responsible for generating. I also do not want her to use the work of other
       participants in the NICE program (unless she has their explicit permission). That includes the instructional
       and assessment materials faculty developed.

       (3) I do not want Sarah to slander or libel me again. We are both sociologists and both members of the same
       professional associations, including the American Sociological Association and the National Numeracy
       Network. I realize that Sarah may never take responsibility for her misconduct, but I do want her to stop
       badmouthing me. I should note that several of the faculty participants in my current grant are from Hostos
       Community College, and I don't want her to jeopardize my professional relationships with them.

       I contacted Ms. Barbera last week for assistance in achieving these goals. She suggested I reach out to you
       and issue a formal complaint. If you can provide any assistance, I would be grateful.

       Thank you in advance.

       Sincerely,
       Esther Wilder
       ---
       Esther Isabelle Wilder
       Professor
       Department of Sociology
       Lehman College
       The City University of New York (CUNY)
       250 Bedford Park Boulevard West
       Bronx, NY 10468
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